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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

UNITED STATES OF AMER[CA,
Plaintiff,
VS. No. 04-1210-T/An

RONALD K. TAYLOR,

\_,/\-/\_/\../\_/\._/\_/\_/\_/

Defendant.

 

ORDER POSTPONING SURRENDER DATE

 

At a show cause hearing on July 21, 2005, defendant Ronald K. Taylor Was found in
contempt of Court for his failure to obey the Court’s prior order enforcing an lnternal
Revenue Service Summons. The Court ordered that the defendant must surrender himself
to the United States Marshal for incarceration on August 22, 2005 . The Court further stated
that it Would reconsider the incarceration if the IRS advised that the defendant had fully
complied With the summons before that date.

On August l6, 2005, the IRS filed a praecipe asserting that the defendant once again
failed to submit the required documents in a timely manner, but that he has indicated an
intent to produce the documents the Week of August 15-20. Even if the documents are
produced during that period, the IRS states there Will insufficient time to review them and

advise the Court, prior to August 22, as to the extent of compliance The defendant has filed

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with nme 58 and,'or_re (a) FHCP on g l I q l § 35

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a response to the praecipe on August l7, 2005, stating that he is making diligent efforts to
comply vvith the summons, and that certain documents Were hand-delivered to the IRS on
August 16, 2005. Defendant asks the Court to order the IRS to communicate and consult
With counsel regarding a mutually convenient date and time for oral examination and further
document production.

As a practical matter, it would be preferable for the IRS and defendant’s counsel to
cooperate as much as possible Hovvever, the defendant has already been adjudicated in
contempt of Court and it is his burden to purge himself of that contempt. Therefore, the
Court declines to Spccifically order the IRS to coordinate With counsel to find a mutually
convenient time for plaintiff to comply With the summons

While it does appear that the defendant is making some effort to gather the
information required by the IRS summons, he clearly has not yet purged himself of the
contempt The Court Will, however, postpone the date the defendant is to Surrender for
incarceration Accordingly, the defendant is hereby ORDERED to surrender himself to the
U.S. Marshal for incarceration on October 17, 2005.

lT IS SO ORDERED.

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uNlT D STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 53 in
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Honorable J ames Todd
US DISTRICT COURT

